











Opinion issued October 31, 2008








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00821-CV 




IN RE BRIAN MCCAULEY, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Brian McCauley, filed a petition for writ of mandamus contending that
the August 26, 2008 judgment signed by respondent


 is void because it was signed
after the trial court’s plenary power had expired.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Nuchia and Higley.


